Case 2:13-cv-02578-STA-cgc Document 163 Filed 01/12/17 Page lof4 Page|D~1765

Thomas M. Gould
Clerk of Cour(

 

United .States District Court
Western District of Tennessee

 

Federa| Building
111 South Highland, Room 262
Jackson, Tennessee 38301

Federal Building
167 North Main Strect, Suite 242
Memphis, Tennessee 38103

731-421-9200 (Teleplzone)

901-495-]200 (Teleplzolze)
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Tom_ Gould@mwd. usconr!s. gov

Date Ianuary 12, 2017
NOTICE: Retrieval of Exhibits in Case Number : 2:13‘5"2578

Dear Counsel:
Our records indicate a final determination of the above styled case has been entered
Local Rule 79.l(c) of the United District Court for the We,stern District of Tennessee specifies:

Aftcr the final determination of any action, counsel shall have 30 days Within
Which to Withdravv exhibits in the clerk’s custody. In the event the exhibits are not
So Withdravvn, the clerk shall destroy or otherwise dispose of said exhibits.

lf you are interested in retrieving the exhibits entered by you in this case, you must contact the
Memphis Clerk’s office at 901 -495-1200 within lO days from the date of this letter to make
arrangements for said retrieval. We require a two (2) days notice in order to have the exhibits ready
for pick-up. You must physically retrieve and sign for the exhibits Absent communication from

you, the exhibits Will be destroyed

Thank You,

Best Regards? SEE ATTACHED SHEET(S)

Tliomas M. Gould
CLERK OF COURT

By: s/ l. Easley n
Deputy Clerk

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Case 2113-cv-02578-STA-cgc Document 35 Filed 12/03/14 Page 1 of 1 Page|D 487

 

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Case Number; 2:13~cv~2578~STA
CLEAL WATTS, III, et al.
PRESXDING JU:>GE PLAIN‘I'IFP‘B A‘r'mxwav DEFENDANT’s ATTORNEY
S. 'I'homas Anderson A, Pietrangelo, D. Pbillfps B. McMullen, L. Patterson, M. Wu
TRIAL DA'FH (S) COURT R£'PORTER COURTRQOM I)EFUTY
Moti<m Hearin&lz&&014 Mark Dodson 'l`erry Haley
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3 12/2/2014 f ‘J` Email dated 211/2012 from Phillipa S!edge
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Case Numbcr: 2213~c'v»2578»STA
Cieal Watts, III, et ai.
PRES!DING JUDGE Pl.imNtlr~`r‘s ATTORNEY DEFENDANT‘s ATTORNF.Y
S. Thomas Anderson D. Phiflips R. ”i`ownley
TRIAL DATE (S) COL\R'I‘ I<Ii~tl*oiz'rr-:R COUR”I“ROOM Dt~:§>tt`l‘t/
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Case Number: 2:13~cv‘2578~STA

!ndico System Resou rees, Inc., ct a¥.

 

 

PRES!DING moritz
S. 'I'homas Auderson

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